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                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


UNITED STATES OF AMERICA                                                      PLAINTIFF

      V.                                No. 5:11-CR-50065-002

ALFONSO VACA                                                              DEFENDANT


                                      ORDER


      On this 17th day of April, 2014, there comes on for consideration the Report and

Recommendation (Doc. 69) filed in this case on March 20, 2014, by the Honorable Erin

L. Setser, United States Magistrate for the Western District of Arkansas. Fourteen (14)

days have passed without objections being filed by the parties.

      The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the Report and Recommendation is proper and should be and hereby is

ADOPTED IN ITS ENTIRETY. Accordingly, for the reasons stated in the Magistrate

Judge’s Report and Recommendation, Defendant’s Motion to Vacate is DENIED and this

matter is DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED.


                                               /s/ Timothy L. Brooks
                                               Timothy L. Brooks
                                               United States District Judge
